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  IT IS ORDERED as set forth below:



  Date: March 16, 2016
                                              _________________________________

                                                       Barbara Ellis-Monro
                                                  U.S. Bankruptcy Court Judge


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